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1    Carney R. Shegerian, Esq., State Bar No. 150461
     CShegerian@Shegerianlaw.com
2    Anthony Nguyen, Esq., State Bar No. 259154
     ANguyen@Shegerianlaw.com
3    Mahru Madjidi, Esq., State Bar No. 297906
     MMadjidi@Shegerianlaw.com
4    Griselda S. Rodriguez, Esq., State Bar No. 303049
     GRodriguez@Shegerianlaw.com
5    SHEGERIAN & ASSOCIATES, INC.
     145 South Spring Street, Suite 400
6    Los Angeles, California 90012
     Telephone Number: (310) 860-0770
7    Facsimile Number: (310) 860-0771
8    Attorneys for Plaintiff,
     MARCELLUS MCMILLIAN
9
     [CAPTION CONTINUED ON NEXT PAGE]
10

11                  THE UNITED STATES DISTRICT COURT FOR THE
12           CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
13

14   MARCELLUS MCMILLIAN,                     Case No.: 2:19-cv-02121-MWF-JCx
15         Plaintiff,                         The Honorable Michael W. Fitzgerald
16   vs.                                      AMENDED JOINT EXHIBIT LIST
17   GOLDEN STATE FC LLC,                     Trial: February 1, 2022
     AMAZON FULFILLMENT                       Time: 8:30 a.m.
18   SERVICES, INC., AMAZON.COM               Ctrm.: 5A
     SERVICES, INC., AMAZON.COM,
19   INC., and DOES 1 to 100, inclusive,      FPC: January 10, 2021
                                              Time: 11:00 a.m.
20         Defendants.                        Ctrm.: 5A
21                                            Action Filed: January 11, 2019
22

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                                   AMENDED JOINT EXHIBIT LIST
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1

2
     MORGAN, LEWIS & BOCKIUS LLP
3
     Barbara A. Fitzgerald, State Bar no. 151038
4    barbara.fitzgerald@morganlewis.com
     300 South Grand Avenue, Twenty-Second Floor
5
     Los Angeles, CA 90071-3132
6    Tel: 213.612.2500
     Fax: 213.612.2501
7

8    MORGAN, LEWIS & BOCKIUS LLP
     Ethel J. Johnson, pro hac vice
9
     ethel.johnson@morganlewis.com
10   1000 Louisiana St., Suite 4000
     Houston, TX 77002-5006
11
     Tel: 1.713.890.5191
12   Fax: +1.713.890.5001
13
     MORGAN, LEWIS & BOCKIUS LLP
14   Alexander L. Grodan, Bar No. 261374
     alexander.grodan@morganlewis.com
15
     600 Anton Boulevard, Suite 1800
16   Costa Mesa, CA 92626-7653
     Tel: 714.830.0600
17
     Fax: 714.830.0700
18
     Attorneys for Defendants,
19
     GOLDEN STATE FC LLC, AMAZON
20   FULFILLMENT SERVICES, INC.,
     AMAZON.COM SERVICES, INC.,
21
     AMAZON.COM, INC.
22

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                                 AMENDED JOINT EXHIBIT LIST
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1

2          The parties submit the following Amended Joint Exhibit List to be used at the trial
3    set to begin on February 1, 2022, at 8:30 a.m., before the Honorable Michael W.
4    Fitzgerald, in Courtroom 5A of this Court, at 312 North Spring Street, Los Angeles,
5    California 90012.
6

7    Dated: December 29, 2021               SHEGERIAN & ASSOCIATES, INC.
8

9                                     By:
                                            Carney R. Shegerian, Esq.
10                                          Anthony Nguyen, Esq.
                                            Mahru Madjidi, Esq.
11                                          Griselda Rodriguez, Esq.
12                                          Attorneys for Plaintiff,
                                            MARCELLUS MCMILLIAN
13

14
     Dated: December 29, 2021               MORGAN, LEWIS & BOCKIUS LLP
15

16
                                      By:
17                                          Barbara A. Fitzgerald
                                            Alexander L. Grodan
18
                                            Attorneys for Defendants,
19                                          GOLDEN STATE FC LLC,
                                            AMAZON FULFILLMENT
20                                          SERVICES, INC., AMAZON.COM
                                            SERVICES, INC., AMAZON.COM,
21                                          INC.
22

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                                    AMENDED JOINT EXHIBIT LIST
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1                         AMENDED JOINT EXHIBIT LIST
2

3    Exh                                           Auth./Ad       Date         Date
                 Description         Offered By
      .                                               miss.     Identified   Admitted
4    No.                                           Stipulated
                                                       to?
5
      1    Amazon Job Description    Plaintiff/
6          - Warehouse Associate -   Defendants
           San Bernardino
7     2    Amazon Job Description    Plaintiff/
           - Accommodation           Defendants
8          Consultant
      3    Amazon Job Description    Plaintiff
9          - Human Resource
           Assistant
10
      4    Amazon Job Description    Plaintiff
11         - Senior Human
           Resource Assistant
12    5    Amazon Job Description    Plaintiff/
           - Regional                Defendants
13         Accommodation
           Manager
14                                   Plaintiff/
      6    Amazon Job Description
           - Sr. Accommodation       Defendants
15
           Consultant
16    7    Plaintiff’s Amazon        Plaintiff
           Application 7/18/19
17    8    Plaintiff’s Amazon.com,   Plaintiff
           Inc.’s Confidentiality
18         And Invention
           Assignment Agreement
19         1/8/17
20    9    Plaintiff’s Amazon        Plaintiff
           California Meal Period
21         Waiver Agreement
           1/8/17
22   10    Amazon’s                  Plaintiff/
           Accommodations for FC     Defendants
23         Employees Policy 1/9/19
     11    Amazon’s                  Plaintiff/
24         Accommodations Policy     Defendants
           12/19
25
     12    Amazon’s                  Plaintiff/
26         Accommodations            Defendants
           Resources 1/9/19
27   13    Amazon’s Attendance       Plaintiff/
           Policy 8/13               Defendants
28                                   Plaintiff
     14    Amazon’s Code of

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                                AMENDED JOINT EXHIBIT LIST
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1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
           Business Conduct and
4
           Ethics Acknowledge
           Form 12/27/13
5    15    Amazon’s Code of           Plaintiff
           Business Conduct and
6          Ethics Policy 5/3/19
     16    Amazon’s U.S.              Plaintiff
7          Disability
           Accommodations Policy
8
     17    Department of Fair         Plaintiff
9          Employment And
           Housing California Law
10         Prohibits Workplace
           Discrimination and
11         Harassment
     18    Amazon’s Equal             Plaintiff
12         Employment
           Opportunity Policy
13         5/3/19
     19    California Employment      Plaintiff
14         Development - Disability
           Insurance Provisions
15         Flyer 1/8/
16   20    Amazon’s Harassment        Plaintiff
           Policy for California
17         Associates 1/8/17
     21    Amazon’s Workplace         Plaintiff
18         Harassment Policy
           5/3/19
19                                    Plaintiff/
     22    Amazon’s Amazon U.S.
           Leave of Absence &         Defendants
20
           Accommodation Guide
21         8/12
     23    Amazon’s Leave Policies    Plaintiff/
22         1/9/19                     Defendants
     24    Amazon’s Time and          Plaintiff
23
           Attendance Policy
24   25    Amazon’s NACF              Plaintiff/
           Attendance Policy          Defendants
25         12/16/19
     26    Amazon’s Benefits -        Plaintiff
26         Leave of Absence (LOA)
           Guide 2/18
27
     27    Amazon’s Leave User        Plaintiff/
28         Guide                      Defendants


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                                 AMENDED JOINT EXHIBIT LIST
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1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
     28    Amazon’s                   Plaintiff/
4          Accommodations Case        Defendants
           Management Standard
5          Operating Procedure
           (SOP) 3/19/19
6    29    Amazon’s                   Plaintiff/
           Accommodations User        Defendants
7          Guide – Fulfillment
           Centers
8
     30    Amazon’s Owner’s           Plaintiff
9          Manual and Guide to
           Employment 12/15
10   31    Amazon’s Owner’s           Plaintiff
           Manual and Guide to
11         Employment 4/17
           AMZN-
12         MCMLLN_000564- 591
     32    Amazon’s Owner’s           Plaintiff/
13                                    Defendants
           Manual and Guide to
14
           Employment 7/17
           AMZN-
15
           MCMLLN_000621- 678
     33    Amazon’s Owner’s           Plaintiff
16         Manual and Guide to
           Employment 7/17
17         AMZN-
           MCMLLN_000592- 620
18   34    Amazon’s Owner’s           Plaintiff
           Manual and Guide to
19         Employment 12/17
           AMZN-MCMLLN_
20         000679- 707
     35    Amazon’s Owner’s           Plaintiff
21         Manual and Guide to
           Employment 5/18
22         AMZN-
           MCMLLN_000736- 763
23   36    Amazon’s Owner’s           Plaintiff/
           Manual and Guide to        Defendants
24         Employment 5/18
           AMZN-
25         MCMLLN_000708- 735
     37    Amazon’s Owner’s           Plaintiff
26         Manual and Guide to
           Employment 1/19
27         AMZN-
           MCMLLN_000764- 791
28         Confidential Case Report   Plaintiff/
     38

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                                 AMENDED JOINT EXHIBIT LIST
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1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
           8/31/17                    Defendants
4    39    Confidential Case Report   Plaintiff
           2/5/18
5    40    Confidential Case Report   Plaintiff
           12/26/17
6
     41    Confidential Case Report
7          5/11/18
     42    Case List 2017-2018        Plaintiff
8    43    Plaintiff’s Supportive     Plaintiff/
           Feedback Document          Defendants
9          Unpaid Personal Time –
           Notice 10/3/17
10
     44    Plaintiff’s Medical        Plaintiff/
11         Billing Statement          Defendants
     45    Plaintiff’s Golden State   Plaintiff/
12         FC LLC Earnings            Defendants
           Statements 2017-2018
13                                    Plaintiff/
     46    Plaintiff’s Golden State
           FC LLC W-2 Tax Form        Defendants
14
           2017
15   47    Plaintiff’s Reed Group     Plaintiff/
           Attending Physician's      Defendants
16         Statement of Work
           Capacity and Impairment
17         11/16/17
     48    Plaintiff’s Reed Group     Plaintiff/
18         Attending Physician's      Defendants
           Update of Work
19         Capacity and Impairment
           1/6/18
20
     49    Plaintiff’s Placentia      Plaintiff/
21         Surgery Center Medical     Defendants
           Bill
22   50    Plaintiff’s California     Plaintiff/
           Medical Arts, Inc. -       Defendants
23         Comprehensive Physical
           Medicine and
24         Rehabilitation/Pain
           Management
25         Consultation 8/8/17
26   51    Plaintiff’s California     Plaintiff/
           Medical Arts, Inc. -       Defendants
27         Comprehensive Physical
           Medicine And
28         Rehabilitation/Pain
           Management Follow Up
                                            -6-
                                 AMENDED JOINT EXHIBIT LIST
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1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
           Consultation 2/6/18
4    52    Dr. William Ramirez’s      Plaintiff/
           Patient Daily Notes        Defendants
5          8/3/17
     53    Plaintiff’s Disability     Plaintiff/
6          Statement 11/2/17          Defendants
7    54    Plaintiff’s Patient        Plaintiff/
           Referral 2/21/18           Defendants
8    55    Plaintiff’s Eagle Eye      Plaintiff/
           Imaging Center Service     Defendants
9          Report 7/31/18
     56    Plaintiff’s                Plaintiff/
10                                    Defendants
           Electrodiagnostic Study
11
           Report/Consultation
           9/12/17
12   57    Plaintiff’s Health Care    Plaintiff/
           Provider Certifications    Defendants
13         (Medical Leave) 201/-
           2018
14   58    Plaintiff’s Health         Plaintiff
           Insurance Claim Forms
15         2018
16   59    Plaintiff’s Placentia      Plaintiff/
           Surgery Center             Defendants
17         Preoperative Diagnosis
           7/23/18
18   60    Plaintiff’s Placentia      Plaintiff/
           Surgery Center             Defendants
19         Operative Report 4/23/18
     61    Plaintiff’s Amazon 360     Plaintiff/
20         Absence Table 2/5/19       Defendants
21   62    Plaintiff’s Amazon         Plaintiff
           Accrual Detail Table
22         9/12/18
     63    Amazon Case Computer       Plaintiff/
23         Print Outs 2017-2018       Defendants
     64    Job Abandonment            Plaintiff/
24                                    Defendants
           Negative UPT Flow
25
           Chart 9/2/18
     65    Punch Origin Table         Plaintiff
26         2017-2018
     66    Time Detail Table 2017-    Plaintiff
27         2018
28   67    Employee Tracking          Plaintiff
           Excel File

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                                 AMENDED JOINT EXHIBIT LIST
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1    Exh                                             Auth./Ad       Date         Date
                 Description           Offered By
      .                                                 miss.     Identified   Admitted
2    No.                                             Stipulated
                                                         to?
3
     68    Accural Balance Tracker     Plaintiff
4          Excel File 5/17/18
     69    Accural Balance Tracker     Plaintiff
5          Excel File 5/17/18
     70    Plaintiff’s DFEH Right      Plaintiff
6          to Sue Notice 1/14/19
7    71    Plaintiff’s DFEH Right      Plaintiff
           to Sue Notice 12/21/18
8    72    Letter from Golden State    Plaintiff/
           FC LLC to Plaintiff re      Defendants
9          “Employment Offer”
           1/11/17
10                                     Plaintiff/
     73    Letter from David
           Quintana to Plaintiff re    Defendants
11
           ““Employment Offer”
12
           3/20/17
     74    Letter from Amazon to       Plaintiff/
13         Plaintiff re “Family and    Defendants
           Medical Leave Act
14         (FMLA)”
     75    Letter from Amazon to       Plaintiff/
15         Plaintiff re “Leave as an   Defendants
           Accommodation
16         (LEA)…” 8/15/17
17   76    Letter from Bradley Otto    Plaintiff
           to Plaintiff re “Position
18         Offer” 1/11/17
     77    Letter from Amazon to       Plaintiff
19         Plaintiff re “Notice of
           Denial of Continuous
20         Leave” 11/7/07
     78    Letter from David           Plaintiff
21         Quintana to Plaintiff re
           “Position Offer” 3/20/17
22
     79    Letter from Amazon to       Plaintiff/
23         Plaintiff re “Short-Term    Defendants
           Disability Notice”
24         11/07/17
     80    Letter from Amazon to       Plaintiff/
25         Plaintiff re “Disability    Defendants
           Leave Approval Notice”
26         11/8/17
     81    Letter from Amazon to       Plaintiff/
27
           “Disability Leave           Defendants
28
           Approval Notice”
           11/25/17

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                                  AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 10 of 24 Page ID #:6675



1    Exh                                             Auth./Ad       Date         Date
                 Description           Offered By
      .                                                 miss.     Identified   Admitted
2    No.                                             Stipulated
                                                         to?
3
      82   Letter from Amazon to       Plaintiff/
4          Plaintiff re “Disability    Defendants
           Leave Approval Notice”
5          11/27/17
      83   Letter from Amazon to       Plaintiff/
6          Plaintiff re “Extension     Defendants
           Acknowledgement for
7          Your Continuous Leave
           Due to Own Health
8          Condition” 12/7/17
      84   Letter from Amazon to       Plaintiff/
9          Plaintiff re “Continuous    Defendants
           Own Health Condition
10         Designation Notice”
           12/14/17
11
      85   Letter from Amazon to       Plaintiff/
12         Plaintiff re “Leave of      Defendants
           Absence and
13         Accommodations
           (LOAA)” 12/15/17
14    86   Letter from Amazon to       Plaintiff/
           Plaintiff re “Extension     Defendants
15         Acknowledgement for
           Your Continuous Leave
16         Due to Own Health
           Condition” 12/8/17
17                                     Plaintiff/
      87   Letter from Amazon to
18
           Plaintiff re “Disability    Defendants
           Leave Approval Notice”
19
           12/26/17
      88   Letter from Amazon to       Plaintiff/
20         Plaintiff re “Notice of     Defendants
           Incomplete
21         Documentation” 1/4/18
      89   Letter from Amazon to       Plaintiff/
22         Plaintiff re “Continuous    Defendants
           Own Health Condition
23         Designation Notice”
           1/9/18
24
      90   Letter from Amazon to       Plaintiff/
25         Plaintiff re “Short-Term    Defendants
           Disability Notice” 2/6/18
26    91   Letter from Amazon to       Plaintiff/
           Plaintiff re “Continuous    Defendants
27         Own Health Condition
           Designation Notice”
28         2/23/18

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                                  AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 11 of 24 Page ID #:6676



1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
      92   Letter from Amazon to      Plaintiff/
4          Plaintiff re “Notice of    Defendants
           Denial of Continuous
5          Leave” 3/9/18
      93   Letter from Amazon to      Plaintiff
6          Plaintiff re “Voluntary
           Resignation” 5/3/18
7          Letter from Amazon to      Plaintiff
      94
           Plaintiff re “Notice of
8          Denial of Continuous
           Leave’ 9/28/18
9
      95   Letter from Amazon to      Plaintiff/
10         Plaintiff re “Short-Term   Defendants
           Disability Notice”
11         11/7/17
      96   Email from Plaintiff to    Plaintiff/
12         Accommodations re          Defendants
           “Medical Letter From
13         DR. Case#
           1708030103502”
14         8/11/17
      97   Email from Plaintiff to    Plaintiff/
15                                    Defendants
           Accommodations re
16
           “Dr's Note for the time
           off” 11/3/17
17    98   Email chain between        Plaintiff/
           Smith, Reuben and          Defendants
18         Plaintiff re “Updated
           Dr's Not For Leave
19         #17110300818” 12/7/17
      99   Email from Amazon Am       Plaintiff/
20         to Plaintiff re            Defendants
           “Confirmation of
21         documents
22         Received”
     100   Email from Plaintiff to    Plaintiff/
23         Accommodations re          Defendants
           “Updated Dr's Not For
24         Leave #17110300818”
           11/30/17
25   101   Email from Amazon Am       Plaintiff/
           to Plaintiff “Leave of     Defendants
26         Absence and
           Accommodations
27         (LOAA)…” 12/7/17
28   102   Email from Amazon Am       Plaintiff/
           to Plaintiff “Leave of     Defendants

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                                 AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 12 of 24 Page ID #:6677



1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
           Absence and
4
           Accommodations
           (LOAA)…” 12/14/17
5    103   Email from Plaintiff to    Plaintiff
           Accommodations re
6          “Updated Dr's Note For
           Leave #17110300818”
7          12/15/17
     104   Email from Amazon Am       Plaintiff/
8          to Plaintiff “Leave of     Defendants
           Absence and
9          Accommodations
           (LOAA)…” 12/18/17
10
     105   Email from Plaintiff to    Plaintiff/
11         Accommodations re          Defendants
           “Updated Dr's Note For
12         Leave #17110300818”
           12/20/17
13   106   Email from Amazon Am       Plaintiff/
           to Plaintiff “Leave of     Defendants
14         Absence and
           Accommodations
15         (LOAA)…” 12/26/17
     107   Email from Plaintiff to    Plaintiff/
16         Accommodations re          Defendants
           “Updated Dr's Note For
17         Leave #17110300818”
           12/28/17
18
     108   Email from Amazon Am       Plaintiff/
19         to Plaintiff “Leave of     Defendants
           Absence and
20         Accommodations
           (LOAA)…” 1/4/18
21   109   Email from Amazon Am       Plaintiff/
           to Plaintiff “Leave of     Defendants
22         Absence and
           Accommodations
23         (LOAA)…” 1/9/18
     110   Email from Plaintiff to    Plaintiff/
24
           AmazonAM re “Dr's          Defendants
25
           Note” 1/31/18
     111   Email from ONT2-JA         Plaintiff
26         <ONT2-JA to Plaintiff re
           “Amazon ONT2
27         Employment Status…”
           2/1/18
28   112   Email from ONT2-JA         Plaintiff/
                                      Defendants
                                           -11-
                                 AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 13 of 24 Page ID #:6678



1    Exh                                             Auth./Ad       Date         Date
                 Description           Offered By
      .                                                 miss.     Identified   Admitted
2    No.                                             Stipulated
                                                         to?
3
           <ONT2-JA to Plaintiff re
4
           “Amazon ONT2
           Employment Status…”
5
           2/3/18
     113   Email from ONT2-JA          Plaintiff/
6          <ONT2-JA to Plaintiff re    Defendants
           “Amazon ONT2
7          Employment Status…”
           2/4/18
8    114   Email from Amazon Am        Plaintiff/
           to Plaintiff “Leave of      Defendants
9          Absence and
           Accommodations
10         (LOAA)…” 2/6/18
11   115   Email from Amazon Am        Plaintiff/
           to Plaintiff “Leave of      Defendants
12         Absence and
           Accommodations
13         (LOAA)…” 2/9/18
     116   Email from ONT2-JA          Plaintiff/
14         <ONT2-JA to Plaintiff re    Defendants
           “Job Abandonment
15         Bridge 2/15” 2/15/18
     117   Email from ONT2-JA          Plaintiff/
16         <ONT2-JA to Plaintiff re    Defendants
           “Amazon UPT
17         Inquiry…” 2/17/18
18   118   Email from Amazon Am        Plaintiff/
           to Plaintiff “Amazon        Defendants
19         UPT Inquiry” 2/19/18
     119   Email from Amazon Am        Plaintiff/
20         to Plaintiff                Defendants
           “Confirmation of
21         documents received”
           2/19/18
22                                     Plaintiff/
     120   Email from Amazon Am
23
           to Plaintiff “ACTION        Defendants
           REQUIRED: Negative
24
           UPT Inquiry- Marcellus
           McMillian” 2/19/18
25   121   Email from Sonia Amjad      Plaintiff/
           to Plaintiff re “LOA        Defendants
26         waiting on paperwork”
           2/20/18
27                                     Plaintiff/
     122   Email from Amazon Am
28
           to Plaintiff re “Leave of   Defendants
           Absence and

                                            -12-
                                  AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 14 of 24 Page ID #:6679



1    Exh                                             Auth./Ad       Date         Date
                 Description           Offered By
      .                                                 miss.     Identified   Admitted
2    No.                                             Stipulated
                                                         to?
3
           Accommodations
4
           (LOAA)…” 2/23/18
     123   Email from Amazon Am        Plaintiff/
5          to Plaintiff re “Leave of   Defendants
           Absence and
6          Accommodations
           (LOAA)…” 3/9/18
7    124   Email from Plaintiff to     Plaintiff/
           Nadine Lee re “Case         Defendants
8          #17110300818” 3/20/18
9    125   Email from Amazon Am        Plaintiff/
           to Plaintiff re             Defendants
10         “Confirmation of
           documents received”
11         3/22/18
     126   Email from Marcus Pina      Plaintiff
12         to Sonia Amjad re “FHN
           Roster and Weekend”
13         4/13/18
     127   Email from Marcus Pina      Plaintiff
14         to Sonia Amjad re
           “Roster Scrub FHN”
15         4/20/18
16   128   Email from Plaintiff to     Plaintiff/
           Nadine Lee re “Amazon       Defendants
17         ONT2/3/4 Employment
           Status…” 4/22/18
18   129   Email from Renee            Plaintiff/
           Golliday to Chavez, Ray     Defendants
19         re “Job Abandonment
           Bridge - 4/23/2018”
20         3/4/21
     130   Email from Nadine Lee       Plaintiff
21
           to Sonia Amjad re “UPT
22
           Scrub 4/24” 4/24/18
     131   Email from Caitlin          Plaintiff/
23         Favati to Plaintiff re      Defendants
           “Amazon Employment
24         Status” 4/25/18
     132   Email from Plaintiff to     Plaintiff/
25         Caitlin Favati re           Defendants
           “Amazon Employment
26         Status” 4/26/18
27   133   Email from Nadine Lee       Plaintiff
           to Sonia Amjad re
28         “MOD Neg UPT Scrub
           5/1” 5/1/18

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                                  AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 15 of 24 Page ID #:6680



1    Exh                                            Auth./Ad       Date         Date
                 Description           Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
     134   Email from Plaintiff to     Plaintiff/
4          Caitlin Favati re “Case     Defendants
           #17110300818” 5/3/18
5    135   Email from Caitlin          Plaintiff/
           Favati to Plaintiff to re   Defendants
6          “Amazon ONT2/3/4
           Employment Status”
7          5/3/18
     136   Email from Plaintiff to     Plaintiff/
8          Caitlin Favati re “Case     Defendants
           #17110300818” 5/3/18
9
     137   Email from Plaintiff to     Plaintiff/
10         Caitlin Favati re           Defendants
           “Amazon ONT2/3/4
11         Employment Status…”
           5/3/18
12   138   Email from MyDocs to        Plaintiff/
           Plaintiff re ‘Termination   Defendants
13         Documents are Available
           for Review” 5/5/18
14                                     Plaintiff/
     139   Email from Amazon Am
           to Plaintiff re             Defendants
15
           “Confirmation of
16
           Documents Received”
           5/7/18
17   140   Email from Sonia Amjad      Plaintiff
           to ont3-mgt re “AAs no
18         longer with MOD or on
           LOA” 5/15/18
19   141   Email from MyraRose         Plaintiff
           Sumpter to Sonia Amjad
20         re “AAs no longer with
           MOD or on LOA”
21         5/15/18
22   142   Email from Christopher      Plaintiff
           Shearer to ont2-hr, ont3-
23         hr, and ont4-hr re “5/17
           UPT” 5/17/18
24   143   Email from Amazon           Plaintiff
           Exchange Administrative
25         Group to ont3-hr re
           “Marcellus McMillian I
26         Employee ID:
           101953050” 6/21/18
27         Email between Mary          Plaintiff
     144
           Patterson and Amazon
28         AM re “Case

                                           -14-
                                 AMENDED JOINT EXHIBIT LIST
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1    Exh                                           Auth./Ad       Date         Date
                 Description         Offered By
      .                                               miss.     Identified   Admitted
2    No.                                           Stipulated
                                                       to?
3
           #17110300818” 6/25/18
4    145   Email chain between       Plaintiff
           Amazon Absence
5          Management and Mary
           Patterson re “Case
6          #17110300818” 6/26/18
     146   Email chain between       Plaintiff
7          Amazon Absence
           Management and Mary
8          Patterson re “Case
           #17110300818” 6/27/18
9
     147   Email chain between       Plaintiff
10         Amy Virden and Sonia
           Amjad re “Legal Hold
11         Notice - Marcellus
           McMillian” 9/12/18
12   148   Email chain between       Plaintiff
           Amy Virden and Sonia
13         Amjad re “…Leave of
           Absence and
14         Accommodations
           (LOAA)…” 9/18/18
15   149   Email from Amazon AM      Plaintiff
           to Sonia Amjad re
16         “Leave of Absence and
           Accommodations
17         (LOAA)…” 9/28/18
18   150   Email chain between       Plaintiff/
           Reuben Smith and          Defendants
19         Plaintiff re “Updated
           Dr's Note For Leave
20         #17110300818”
           12/28/17
21   151   Email from Priscilla      Plaintiff/
           Bustamante to Plaintiff   Defendants
22         re “Amazon
           Reinstatement Letter,
23         Marcellus McMillian”
           2/7/19
24                                   Plaintiff/
     152   Letter from Griselda
           Rodriguez, Esq. to        Defendants
25
           Andrew Moriarty, Esq.
26
           re “Post -Lawsuit
           Alleged Offered
27
           Reinstatement Letter”
           2/15/19
28   153   Plaintiff’s New Patient   Plaintiff
           History Form 3/13/18

                                          -15-
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 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 17 of 24 Page ID #:6682



1    Exh                                             Auth./Ad       Date         Date
                 Description           Offered By
      .                                                 miss.     Identified   Admitted
2    No.                                             Stipulated
                                                         to?
3
     154   Reserved                    Plaintiff
4    155   Reserved                    Plaintiff
     156   Reserved                    Plaintiff
5
     157   Printout of lampkin         Plaintiff/
6          foundation.com              Defendants
     158   Job Posting - Uline         Plaintiff/
7          Careers (Warehouse          Defendants
           Associate) 1/4/20
8                                      Plaintiff/
     159   Job Posting - Saladino's
           Foodseruice (Warehouse      Defendants
9
           Order Selector) 1/4/20
10   160   Job Posting – American      Plaintiff/
           Hotel (Warehouse            Defendants
11         Associate) 1/4/20
     161   Job Posting – Cardinal      Plaintiff/
12         Health (Associate II,       Defendants
           Warehouse Operations)
13         1/4/20
14   162   Job Posting – E.B.          Plaintiff/
           Bradley (Warehouse          Defendants
15         Associate-Shipping)
     163   Plaintiff Marcellus         Plaintiff
16         McMillian's
           Interrogatories Pursuant
17         to Federal Rules of
           Procedure Rule 33 To
18         Defendant Amazon
           Fulfillment Services,
19         Inc., (Set One)
     164   Plaintiff Marcellus         Plaintiff
20         McMillian's
           Interrogatories Pursuant
21         to Federal Rules of
           Procedure Rule33 to
22         Defendant Amazon.com
           Services, Inc., (Set One)
23
     165   Plaintiff Marcellus         Plaintiff
24         McMillian's
           Interrogatories Pursuant
25         to Federal Rules of
           Procedure Rule33 to
26         Defendant Amazon.com,
           Inc., (Set One)
27   166   Plaintiff Marcellus         Plaintiff
           McMillian's
28         Interrogatories Pursuant
           to Federal Rules of
                                            -16-
                                  AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 18 of 24 Page ID #:6683



1    Exh                                               Auth./Ad       Date         Date
                  Description            Offered By
      .                                                   miss.     Identified   Admitted
2    No.                                               Stipulated
                                                           to?
3
           Procedure Rule33 to
4
           Defendant Golden State
           FC, LLC, (Set One)
5    167   Amazon.com, Inc. and          Plaintiff
           Amazon.com Services,
6          Inc.’s Response to
           Plaintiff Marcellus
7          McMillian’s
           Interrogatories Pursuant
8          to Federal Rules of
           Procedure Rule 33, (Set
9          One)
     168   Defendant Amazon.com          Plaintiff
10         Services, Inc.'s
           Interrogatories to
11         Plaintiff Marcellus
           McMillian (Set One)
12
     169   Plaintiff Marcellus           Plaintiff/
13         McMillian's Responses         Defendant
           to Defendant
14         Amazon.com Services,
           Inc.'s Interrogatories (Set
15         One)
     170   Plaintiff Marcellus           Plaintiff
16         McMillian's Request for
           Production of
17         Documents Pursuant to
           Federal Rules of
18         Procedure Rule 34, to
           Amazon.com, Inc, (Set
19         One)
     171   Plaintiff Marcellus           Plaintiff
20         McMillian's Request for
           Production of
21         Documents Pursuant to
           Federal Rules of
22         Procedure Rule 34, to
           Amazon Fulfillment
23         Services, Inc. (Set One)
24   172   Plaintiff Marcellus           Plaintiff
           McMillian's Request for
25         Production of
           Documents Pursuant to
26         Federal Rules of
           Procedure Rule 34, to
27         Amazon.com Services,
           Inc., (Set One)
28   173   Plaintiff Marcellus           Plaintiff
           McMillian's Request for
                                              -17-
                                    AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 19 of 24 Page ID #:6684



1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
           Production of
4
           Documents Pursuant to
           Federal Rules of
5
           Procedure Rule 34, to
           Golden State FC, LLC.
6
           (Set One)
     174   Amazon.com, Inc. And       Plaintiff
7          Amazon.com Services,
           Inc.’s Response to
8          Plaintiff Marcellus
           McMillian’s Request for
9          Production of
           Documents Pursuant to
10         Federal Rules of
           Procedure Rule 34 (Set
11         One)
     175   Plaintiff Marcellus        Plaintiff
12         McMillian’s Request for
           Production of
13         Documents Pursuant to
           Federal Rules of
14         Procedure Rule 34, to
           Amazon.com, Inc. (Set
15         Two)
16   176   Plaintiff Marcellus        Plaintiff
           McMillian’s Request for
17         Production of
           Documents Pursuant to
18         Federal Rules of
           Procedure Rule 34, to
19         Amazon Fulfillment
           Services, Inc. (Set Two)
20   177   Plaintiff Marcellus        Plaintiff
           McMillian’s Request for
21         Production of
           Documents Pursuant to
22         Federal Rules of
           Procedure Rule 34, to
23         Amazon.com Services,
           Inc. (Set Two)
24   178   Plaintiff Marcellus        Plaintiff
           McMillian’s Request for
25         Production of
           Documents Pursuant to
26         Federal Rules of
27         Procedure Rule 34, to
           Golden State FC, LLC.
28         (Set Two)


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                                 AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 20 of 24 Page ID #:6685



1    Exh                                             Auth./Ad       Date         Date
                 Description           Offered By
      .                                                 miss.     Identified   Admitted
2    No.                                             Stipulated
                                                         to?
3
     179   Amazon.com, Inc. and        Plaintiff
4          Amazon.com Services,
           Inc.’s Response to
5          Plaintiff Marcellus
           Mcmillian’s Request for
6          Production of
           Documents (Set Two)
7    180   Defendant Amazon.com        Plaintiff
           Services, Inc.'s Requests
8          for Production to
           Plaintiff Marcellus
9          McMillian (Set One)
     181   Plaintiff Marcellus         Plaintiff/
10         McMillian’s Responses       Defendants
           to Defendant
11         Amazon.com Services,
           Inc.’s Requests for
12         Production of
           Documents (Set One)
13
     182   DFEH Right to Sue           Plaintiff
14         Notice
           12/21/2018
15                                     Plaintiff
     183   DFEH Amended Right
16
           to Sue Notice
           01/14/2019
17   184   Timothy Lanning             Plaintiff/
           Curriculum Vitae            Defendants
18         Formuzis, Hunt &            Plaintiff/
     185
           Lanning, Inc.               Defendants
19
           Notes/Reports
20   186   Craig Snyder, Ph.D.,        Plaintiff/
           QME                         Defendants
21         Curriculum Vitae
     187   Craig Snyder, Ph.D.,        Plaintiff/
22         QME                         Defendants
           Notes/Reports
23
     188   William B. Skilling,        Plaintiff/
24
           M.A., C.R.C., C.D.M.S.,     Defendants
           C.L.C.P
25         Curriculum Vitae
     189   William B. Skilling,        Plaintiff/
26         M.A., C.R.C., C.D.M.S.,     Defendants
           C.L.C.P
27         Notes/Reports
     190   Plaintiff’s Amended         Plaintiff
28
           Notice of Taking

                                            -19-
                                  AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 21 of 24 Page ID #:6686



1    Exh                                            Auth./Ad       Date         Date
                 Description          Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
           Deposition of
4
           Defendant’s Retained
           Expert William Skilling;
5
           Request for Production
           of Documents
6    191   Defendant’s Objections     Plaintiff
           to Plaintiff’s Notice of
7          Taking Deposition of
           William B. Skilling and
8          Request for Production
           of Documents at
9          Deposition
     192   Defendant’s United         Plaintiff
10         States Securities and
           Exchange Commission
11         Form 10-K (2017)
12   193   Defendant’s United         Plaintiff
           States Securities and
13         Exchange Commission
           Form 10-K (2018)
14   194   DFEH Posting               Plaintiff
     195   EEOC Employment            Plaintiff
15         Postings
     196   EEOC The Law Posting       Plaintiff
16
     197   Title 2. Administration    Plaintiff
17         Division 4.1 Department
           of Fair Employment and
18         Housing Chapter 5. Fair
           Employment and
19         Housing Council
           Subchapter 2.
20         Discrimination in
           Employment Article 1.
21         General Matters
     198   Title 29-Labor Subtitle    Plaintiff
22         B-Regulation Relating to
           Labor Chapter V-Wage
23         and Housing Division,
           Department of Labor
24         Subchapter C-Other
           Laws Part 825-The
25         Family and Medical
           Leave Act of 1993,
26         Subpart C-Employee and
           Employer Rights and
27         Obligations Under the
           Act
28   199   Calendars                  Plaintiff


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                                 AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 22 of 24 Page ID #:6687



1    Exh                                            Auth./Ad       Date         Date
                 Description           Offered By
      .                                                miss.     Identified   Admitted
2    No.                                            Stipulated
                                                        to?
3
     200   Defendant’s Website
4    201   Other financial condition   Plaintiff
           documents on defendants
5    202   Timeline/various            Plaintiff
           graphics
6    203   Evidentiary graphics        Plaintiff
     204   Discovery graphics          Plaintiff
7
     205   PowerPoint presentations    Plaintiff
8    206   Damages charts              Plaintiff
9    207     EXHIBITS 207 - 400        Plaintiff
              RESERVED FOR
10
                 PLAINTIFF
     401   3/21/18 Training LEA        Defendants
11
           Roster HR
     402   11/8/17 – Amazon            Defendants
12
           Disability Leave
           Approval Notice
13   403   1/6/18 Dr. Ramirez HCP      Defendants
           Certification Form
14   404   4/22/18 ONT2-JA             Defendants
           response to Marcellus
15         McMillian
     405   Misc. Social Media Posts    Defendants
16   406   Uber Records related to     Defendants
           McMillian
17   407   Lyft Records related to     Defendants
           McMillian
18   408   Screen Grab from            Defendants
           Plaintiff’s Video
19   409   Printout of Marcellus       Defendants
           mcmillian.com 1/3/19
20   410   Worldwide Discount          Defendants
           Advertiser Printouts
21
     411     EXHIBITS 411 – 475        Defendants
              RESERVED FOR
22            DEFENDANTS
23

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                                 AMENDED JOINT EXHIBIT LIST
 Case 2:19-cv-02121-MWF-JC Document 120 Filed 12/30/21 Page 23 of 24 Page ID #:6688



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3

4    Dated: December 29, 2021           SHEGERIAN & ASSOCIATES, INC.
5

6                                 By:
                                        Carney R. Shegerian, Esq.
7                                       Anthony Nguyen, Esq.
                                        Mahru Madjidi, Esq.
8                                       Griselda Rodriguez, Esq.
9                                       Attorneys for Plaintiff,
                                        MARCELLUS MCMILLIAN
10

11
     Dated: December 29, 2021           MORGAN, LEWIS & BOCKIUS LLP
12

13
                                  By:
14                                      Barbara A. Fitzgerald
                                        Alexander L. Grodan
15

16                                      Attorneys for Defendants,
                                        GOLDEN STATE FC LLC,
17                                      AMAZON FULFILLMENT
                                        SERVICES, INC., AMAZON.COM
18                                      SERVICES, INC., AMAZON.COM,
                                        INC.
19

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                                AMENDED JOINT EXHIBIT LIST
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1    McMILLIAN v. GOLDEN STATE FC, et al. USDC Case No. 2:19-cv-02121-MWF-JCx
2                                   PROOF OF SERVICE
3                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 145 South Spring
5    Street, Suite 400, Los Angeles, California 90012.
6         On December 23, 2021, I served the foregoing document, described as
     “AMENDED JOINT EXHIBIT LIST” on all interested parties in this action by
7    placing true copies thereof in sealed envelopes, addressed as follows:
8    Barbara A. Fitzgerald, Esq.                  Ethel J. Johnson, Esq.
     Barbara.Fitzgerald@morganlewis.com           ethel.johnson@morganlewis.com
9    MORGAN, LEWIS & BOCKIUS LLP                  MORGAN, LEWIS & BOCKIUS LLP
     300 South Grand Avenue, 22nd Floor           One Market, Spear Street Tower
10   Los Angeles, California 90071                San Francisco, California 94105
11   Alexander L. Grodan, Esq.
     Alexander.Grodan@morganlewis.com
12   MORGAN, LEWIS & BOCKIUS LLP
     600 Anton Boulevard, Suite 1800
13   Costa Mesa, California 92626
14         BY CM/ECF NOTICE OF ELECTRONIC FILING I electronically filed the
           document(s) with the Clerk of the Court by using the CM/ECF system.
15         Participants in the case who are registered CM/ECF users will be served by the
           CM/ECF system. Participants in the case who are not registered CM/ECF users
16         will be served by mail or by other means permitted by the court rules.
17         (FEDERAL) I declare that I am employed in the office of a member of the bar of
           this Court at whose direction the service was made. I declare, under penalty of
18         perjury under the laws of the United States of America, that the above is true and
           correct.
19
          Executed on December 23, 2021, at Los Angeles, California.
20

21

22                                               Jose Castro
23

24

25

26

27

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